 

Case 1:21-cv-00493-CMH-TCB Document 1 Filed 04/21/21 Paga gi Pagelpt 4

 

 

 

 

 

MAILROOM
Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)
| APR ZT Oo
UNITED STATES DISTRICT COURT

 

CLERK, U.S. DISTRICT COURT
ALEXANDRIA, VIRGINIA

 

 

 

for the

Eastern District of Virginia [-|

Alexndria Division

MARC J. STOUT Case No. 2 ON -UG2 alee

(to be filled in by the Clerk’s Office)

Jury Trial: (check one) Ives [_]No

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

1ST SGT. HARRIS,
DEPUTY M. FOSTER

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

MARC J. STOUT

 

30 WILLOW BRANCH PLACE

 

 

FREDERICKSBURG VA
City State
STAFFORD

22405
Zip Code

 

(540) 408-9952

 

FORMULAFOCUSED@GMAIL.COM

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (if known)
Address

County
Telephone Number

E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number

E-Mail Address (if known)

1ST SGT. HARRIS

 

SPOTSYLVANIA COUNTY DEPUTY

 

9119 DEAN RIDINGS LANE

 

 

 

 

 

 

 

 

 

 

SPOTSYLVANIA VA 22553

7 City State Zip Code
matical capacity [| Official capacity

DEPUTY M. FOSTER —
SPOTSYLVANIA COUNTY DEPUTY - _

9119 DEAN RIDINGS LANE oe
SPOTSYLVANIA VA 22553

— City - State Zip Code

 

4 Individual capacity [| Official capacity

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Il.

Defendant No. 3
Name
Job or Title (if known)
Address

 

 

County
Telephone Number
E-Mail Address (if known)

[| Individual capacity [] Official capacity

Defendant No. 4
Name
Job or Title (if known)
Address

 

City  ———:« State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

 

[] Individual capacity [ | Official capacity

 

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)

M suate or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

FOURTH AMENDMENT VIOLATION: ARRESTED WITHOUT PROBABLE CAUSE;
FOURTH AMENDMENT VIOLATION: SEARCHED WITHOUT PROBABLE CAUSE;
FOURTEENTH AMENDMENT VIOLATION: DENIED LIBERTY WITHOUT DUE PROCESS

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Il.

 

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

DEFENDANTS WERE UNIFORMED POLICE OFFICERS AND IDENTIFIED THEMSELVES AS SUCH.

 

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any Cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A,

Where did the events giving rise to your claim(s) occur?

SPOTSYLVANIA COUNTY, VIRGINIA

 

What date and approximate time did the events giving rise to your claim(s) occur?

APRIL 11, 2021, BETWEEN 12:00 PM - 3:00 PM

 

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

SEE ATTACHED “STATEMENT OF CLAIM III. C."

 

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IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

LOSS OF LIBERTY;
LOSS OF REPUTATION;
MENTAL AND EMOTIONAL ANGUISH AND DISTRESS

 

V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

COMPENSATORY DAMAGES IN AN AMOUNT TO BE DETERMINED;

PUNITIVE DAMAGES IN AN AMOUNT TO BE DETERMINED

 

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 04/16/2021

 

Signature of Plaintiff Is/

Printed Name of Plaintiff Mare J. Stout

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number
Name of Law Firm

Address

 

 

City _ State Zip Code
Telephone Number
E-mail Address

 

 

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STATEMENT OF CLAIM III. C.

1. Stout was walking through the Spotsylvania Mall parking lot.

2. Foster pulled into the parking lot, got out of his police
vehicle, and commanded Stout to “come here!”

3. Stout submitted to Foster’s command.

4. Foster told Stout that Foster was investigating a claim by a
mall security guard that Stout threw a bag containing a white
substance on the floor inside the mall.

5. Stout and Foster engaged in a stand-off in the mall parking
lot. Other deputies arrived on scene. Stout continued to engage in a
stand-off with all of the deputies.

6. Harris arrived in his police vehicle, got out, and commanded
Stout to place his hands behind his back.

7. Harris told Stout that Stout was under arrest. Stout asked
Harris, “For what?” Harris responded to Stout, “For whatever Foster
says you’re under arrest for.”

8. Stout asked Foster what Stout was under arrest for. Foster
responded to Stout, “You’re under arrest for possession of an
imitation controlled substance.”

9. Stout insisted to both defendants that they get Stout to the
magistrate as soon as possible. Due to Stout’s insistence the
defendants became visibly apprehensive and unsure of their decision.
10. Stout asked the defendants which substance they were alleging
Stout imitated. Harris responded, “Probably MDMA since that’s what’s

spelled on your shirt.” Foster responded, “Maybe cocaine.”
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ll. I informed the defendants that there was no law or statute in
Virginia prohibiting the possession of an imitation controlled
substance. At this point the defendants started to become visibly
worried and concerned.

12. The defendants searched Stout incident to Stout’s arrest.

13. The defendants field-tested the white substance. The field-test
produced a negative result.

14. Harris forcibly identified Stout under threat of arrest,
stating to Stout that “anytime drugs are involved, you have to
identify or it’s obstruction.”

15. Harris arrested Stout once before for obstruction of justice
for refusing to identify. Stout was found not-guilty at trial. The
judge explained to Harris that Virginia is not a stop-and-identify
state. Stout filed a lawsuit against Harris in this court over that
incident. That action is pending.

16. The defendants released Stout and the “possession of an
imitation controlled substance” charge was dropped on-scene.

17. Stout recorded the incident Live on YouTube. Stout has lost
subscribers since the arrest was streamed. Stout’s subscribers have
lost faith in Stout’s credibility because the defendants forcibly
subdued Stout into a state of compliance. Compliance with the police
is disfavored amongst Stout’s viewers.

18. The defendants’ conduct was intentional, reckless, outrageous,
intolerable, and severe.

19. The defendants acted with evil motive or intent, or callous or

reckless disregard for Stout’s federally protected rights.
